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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                              Chapter 11
                                                    1
    LORDSTOWN MOTORS CORP., et al.,
                                                              Case No. 23-10831-MFW

              Debtors.                                        (Jointly Administered)

                                                             Related to Docket Nos. 975 and 977


                                          CERTIFICATE OF SERVICE

                    I, Tori L. Remington, hereby certify that on February 14, 2024, I caused the following

documents to be served upon the parties set forth on the attached service list in the manner indicated,

and all ECF participants registered in these cases were served electronically on the date of filing

through the Court’s ECF system at their respective email addresses registered with the Court:

            Second Interim Application of Troutman Pepper Hamilton Sanders LLP as Counsel for the
             Official Committee of Unsecured Creditors for the Period from October 1, 2023 Through
             and Including December 31, 2023 [Docket No. 975]; and

            Second Interim Fee Application of Huron Consulting Group Inc., Financial Advisor to the
             Official Committee of Unsecured Creditors for Allowance of Compensation for Services
             Rendered and Reimbursement of Expenses for the Period October 1, 2023 Through
             December 31, 2023 [Docket No. 977].




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       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
       Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
       address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Dated: February 15, 2024        Respectfully submitted,
Wilmington, Delaware
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